Case 2:18-mj-00152-EFB Document 98-1 Filed 03/11/19 Page 1 of 4

 

UNITED STATES DISTRICT COURT

for the

Ea$t€rn District of California

 

 

United States of America )
v. )
Omar Ameen ) Case No. 2:18-MJ-O152 EFB
)
Defendant )

SUBPOENA TO TESTIFY IN AN EXTRADITION PROCEEDING

To: United States Conference of Catho|ic Bishops (USCCB)
Migration and Refugee Services
3211 Fourth Street, NE
Washington, DC 20017 Attn: Custodian of Records

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place shown
below to testify in an extradition hearing. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.

 

 

,Unlted States Dlstrict Court, t .
Place of Appearance. Eastem District cf Califomia Cour room No.. 8
501 I St t - .
sacram<;ci§>4 cA Date and T‘m°' 03/20/2019 1;30 pm

 

 

 

You must also bring with you the following documents, electronically stored information, or objects (blank zfnoz
applicable)!

PLEASE SEE ATTACHMENT A

(SEAL) Please call the Attomey or Paralegal named below to find out if your presence will be

required once you deliver the above documents, electronically stored information,
and/or objects to court. Sometimes delivering the above to court before the scheduled
date will not require you appear in court.

CLERK OURT

/i/»

gnature of Clerk or Deputy Clerk

Date:

   
  

 

The name, address, e-mail, and telephone number of the attorney representing (name ofparzy)
Omar Ameen , who requests this subpoena, are:

 

Rache||e Barbour, Assistant Federa| Defender at Rache||e_Barbour@fd.org

801 I Street, 3rd floor
Sacramento, CA 95814
916.498.5700

Case 2:18-mj-00152-EFB Document 98-1 Filed 03/11/19 Page 2 of 4

 

Case No. 2218-MJ-O152 EFB

PROOF OF SERVICE

ThiS Sllpr€Ila fOI‘ (name of individual and title, if any)

 

was received by me on (date)

El I served the subpoena by delivering a copy to the named person as follows:

 

 

on (date) ; or

 

ij I returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, l have also
tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0_0()

l declare under penalty of perjury that this information is true.

Date:

 

Server ’s signature

 

Printed name and title

801 I Street, 3rd floor
Sacramento, CA 95814

 

Server 's address

Additional information regarding attempted service, etc:

Case 2:18-mj-00152-EFB Document 98-1 Filed 03/11/19 Page 3 of 4

U.S. v. OMAR AMEEN
2: l 8-MJ-Ol 52-EFB SUBPOENA ATTACHMENT A

Client of the U.S. Conference of Catholic Bishops:
PA Omar Abdulsattar Ameen:

DOB: December 20, 1973

CASE NUMBER: TU-395157

A-FILE NUMBER: A 212 734 127

IRAQI PASSPORT NUMBER: Gl975150

NON WRAPS ID: 385-12C02753 (UNHCR)

A release confirming Mr. Ameen’s authorization to release these documents to defense counsel
is attached.

l. Mr. Ameen’s entire USCCB file or files, including all applications, photographs,
biometric data, contacts, notes, reservations, payments, reimbursements, letters,
communications, emails, phone logs, receipts, payments, photographs, fingerprints,
videos, sign-in sheets, for his refugee application;

2. All communications held by the USCCB regarding Mr. Ameen’s application, including
emails, letters, notes of phone calls, logs, and other correspondence, whether between
USCCB employees or contractors, or others, including USCIS, the United States
Department of Homeland Security, and the United States Department of State; and
including any agency of the Govemment of the Republic of Turkey.

3. Any photographs, video, or other recordings of Mr. Ameen taken between May 22, 2014
and July 10, 2014;

4. All documentation, communications, reservation, and payment information regarding the
booking of a hotel reservation for the Ameen family in Istanbul for the dates of July 7
through 10, 2014 during their attendance at medical appointments and a cultural
orientation course;

5. All documentation, communications, reservations, and payment information regarding
the booking of travel for the Ameen family to come to Istanbul for the medical
appointment on July 7, 2014;

6. All contacts between the USCCB and any staff or contractors, with Omar Ameen or
anyone else regarding the Ameen application between May 22, 2014 and July 7, 2014;

7. Sign-in sheets or other confirmation of the Ameen family’s attendance at the RSC’s
cultural education program in Istanbul starting July 8, 2014;

8. Contact between the USCCB with any branch of the Turkish Government, including the
Mersin General Directorate of Security Foreigner’s Branch (Emniyet Yabancilar $ube
Miidiirliigii), the Provincial Directorate of Migration Management (under the General
Directorate for Migration Management), the Mersin Foreigner’s Police, and/or the
Amniyat in Mersin confirming Mr. Ameen’s compliance with rules regarding sign-ins,
travel restrictions, and the deposit of his passport in Mersin;

Case 2:18-mj-00152-EFB Document 98-1 Filed 03/11/19 Page 4 of 4

U.S. v. OMAR AMEEN
2: 18-MJ-0152-EFB SUBPOENA ATTACHMENT A

9. Contract between the USCCB and any entity of the Turkish Govemment confirming his
resettlement in the United States and authorizing the release of his and his family’s
passports prior to his travel to the United States;

10. A full copy of the Worldwide Reidgee Admissions Processing System (WRAPS) entries
and screens regarding Mr. Ameen’s case;

ll. A full copy of any other computerized system entries used by the USCCB to document
Mr. Ameen’s case;

12. Tclephone records showing contact between the USCCB and Mr. Ameen’s phone
number - 05-34-068-5280 - between May 22, 2014 and July 10, 2014.

13. A copy of the USCIS LiveScan fingerprints and photograph of Mr. Ameen taken at his
USCIS interview on May 22, 2014.

